             So Ordered.

Dated: October 18th, 2023
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    9
                                 UNITED STATES BANKRUPTCY COURT
   10                            EASTERN DISTRICT OF WASHINGTON
   11     In re
                                                              No. 23-01053-FPC11
   12     NB COMMONS, LLC,
                                                              AGREED ORDER
   13                                  DEBTOR.                (1) CONTINUING FINAL
                                                              HEARING ON USE OF CASH
   14                                                         COLLATERAL, AND
                                                              (2) EXTENDING INTERIM
   15                                                         AUTHORITY TO USE CASH
                                                              COLLATERAL
   16
                  THE UNDERSIGNED PARTIES, having agreed to the entry of this Order as
   17
          evidenced by the signatures of their counsel hereon, and good cause appearing therefor,
   18
          it is now hereby
   19
                  ORDERED as follows:
   20
                  1.   The Interim Order (1) Authorizing Use of Cash Collateral, (2) Granting
   21
          Adequate Protection, and (3) Setting Final Hearing [ECF No. 73] (the “Interim Cash
   22
          Collateral Order”) is hereby modified, but only pursuant to the terms of this Order.
   23

                                                                             B USH K ORNFELD L LP
          AGREED ORDER (1) CONTINUING FINAL HEARING ON USE                           LAW OFFICES
          OF CASH COLLATERAL, AND (2) EXTENDING INTERIM                         601 Union St., Suite 5000
                                                                             Seattle, Washington 98101-2373
          AUTHORITY TO USE CASH COLLATERAL– Page 1                              Telephone (206) 292-2110
                                                                                Facsimile (206) 292-2104

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1              2.   The hearing to consider entry of a final order on the Debtor’s use of cash
2      collateral shall be continued to October 30, 2023 at 10:00 a.m. Pacific Time.
3              3.   Any additional evidence in support of the Debtor’s request for use of cash
4      collateral shall be filed no later than October 23, 2023 at 4:00 p.m. Pacific Time.
5              4.   Any supplemental response in opposition to the Debtor’s request for use of
6      cash collateral shall be filed no later than October 27, 2023 at 4:00 p.m. Pacific Time.
7              5.   The Debtor’s authority to use cash collateral on an interim basis, solely in
8      accordance with the terms of the Interim Cash Collateral Order, shall be extended
9      through and including October 31, 2023.
10                                        / / /End of Order/ / /
       Presented by:
11
       BUSH KORNFELD LLP
12

13     By /s/ James L. Day
         James L. Day, WSBA #20474
14       Christine M. Tobin-Presser, WSBA #27628
         Thomas A Buford, WSBA #52969
15       Richard B. Keeton, WSBA #51537
         Attorneys for NB Commons, LLC
16
       Approved for entry:
17
       LANE POWELL PC
18

19     By: /s/ Gregory R. Fox
         Gregory R. Fox, WSBA No. 30559
20       James B. Zack, WSBA No. 48122
       Attorneys for Greyhawk
21     SSOF Ruckus Lender, LLC
22
       -and-
23

                                                                         B USH K ORNFELD L LP
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       AUTHORITY TO USE CASH COLLATERAL– Page 2                             Telephone (206) 292-2110
                                                                            Facsimile (206) 292-2104

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1      ALLEN MATKINS LECK GAMBLE
       MALLORY & NATSIS LLP
2

3
       By: /s/ Matthew G. Bouslog
4        Matthew G. Bouslog
         CA Bar No. 280978, pro hac vice
5
       Attorneys for Greyhawk
       SSOF Ruckus Lender, LLC
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                                                                      B USH K ORNFELD L LP
       AGREED ORDER (1) CONTINUING FINAL HEARING ON USE                       LAW OFFICES
       OF CASH COLLATERAL, AND (2) EXTENDING INTERIM                     601 Union St., Suite 5000
                                                                      Seattle, Washington 98101-2373
       AUTHORITY TO USE CASH COLLATERAL– Page 3                          Telephone (206) 292-2110
                                                                         Facsimile (206) 292-2104

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